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UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT
In re: COUNTY OF MONTEREY No. 06-15531
INITIATIVE MATTER, D.C. No. CV-06-01407-JW
WILLIAM MELENDEZ; et al., JUDGMENT
Plaintiffs - Appellants, S «x
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ROSARIO MADRIGAL:; et al., Sa 3 et
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Plaintiffs - Appellees, ere Z
V. ae, =
COUNTY OF MONTEREY, a
governmental corporation formed under
the laws of the State of California; et al.,
Defendants - Appellees.

Appeal from the United States District Court for the Northern District of

California (San Jose).
On consideration whereof, it is now here ordered and adjudged by this

Court, that the appeal in this cause be, and hereby is VACATED AND

& TRUE COPY
ATHY &, CATTERSON

REMANDED.
Clerk of Ceourt

ATIEST

Filed and entered 11/20/06

